Case 1:13-cr-00282-.]SR Document 144 Filed 03/14/18 Page 1 of 9

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT ()F NEW YORK

UNITED STATES OF AMERICA, : Docket No. 0208 1:Sl 13 CR 282-01 (JSR)
V.
EDGAR PALTZER, : Sentence Date: 03/ 21/ 2018

Defendant.

DEFENDANT’S PRESENTENCE MEMORANDUM

I. Background

Edgar Paltzer’s sentencing is scheduled before the Honorable Jed
Rakoff on March 21, 2018. This sentence will occur almost five years after
Mr. Paltzer’s indictment and guilty plea. Since April 2013, Mr. Paltzer has
extensively cooperated with the United States, pled guilty to the offenses
charged in a superseding indictment, testified at a trial, and fulfilled every

aspect of his cooperation agreement
II. Mr. Paltzer’s Response to the Indictment

Mr. Paltzer was not aware that he was under investigation by the
United States government He first became aware of the prosecution on
April 17, 2013 by way of a link to a press release contained in an email from

the managing partner of his Zurich law firm. Despite the fact that he could

DM1\8541599.2

 

not be extradited from Switzerland to the United States, Mr. Paltzer
immediately resolved to travel to the U.S., face the charges and cooperated
with the government’S investigation He immediately contacted counsel
who in turn promptly contacted the United States Attorney’s Office.
Counsel communicated to the government that Mr. Paltzer was willing to
come to the U.S. and cooperate without any commitment from the
government regarding his bail or sentence. Mr. Paltzer cooperated with the
government from July 2013 through the present. The extent of his

cooperation is set forth in the government’s 5K1.1 filing.

After the U.S. government’s investigation of UBS became public, Mr.
Paltzer actively tried to remedy his and his clients’ criminal conduct. He
advised his clients who had undisclosed accounts to make a voluntary
disclosure or report the accounts by way of the IRS Offshore Voluntary
Disclosure Program. As a result of both the former clients’ participation in
the OVDP and Mr. Paltzer’s cooperation regarding those who did not
participate in the OVDP, it is believed that all of his clients’ previously

unreported tax has now been paid in full.

Mr. Paltzer has set the gold standard for Swiss professionals not

subject to extradition to deal with their criminal conduct and with charges

DMl\8541599.2

 

 

 

brought by the U.S.1 It is believed that his voluntary surrender and his

cooperation encouraged others to follow his example.
III. Impact of the Decision to Plead and Cooperate

Many thousands of Swiss professionals assisted U.S. persons in
establishing and maintaining undeclared Swiss accounts. lt is likely that
Mr. Paltzer was the first such professional to recognize publically that such
assistance violated U.S. law. His indictment, plea and cooperation were the
subject of worldwide press.2 At home he was hypocritically viewed as the
only Swiss professional who did something wrong; why else would he plead

guilty? Anyone who associated with him was assumed guilty of something.

 

1 Mr. Paltzer’s conduct is contrasted with at least seven Swiss defendants in this
district charged in Swiss bank related prosecutions who remain fugitives. See: United
States v. Singenberger, 11 CR 620 (Filed 7/21/11), United States v. Keller, 12 CR 2
(Filed 1/3/12), United States v. Huppi, 12 CR 962 (Filed 12/19/12), United States v.
Gisler, 11 CR 662 (Filed 8/4/11), United States v. Berlinka, 12 CR 2 (Filed 1/3/12),
United States v. Frei, 12 CR 2 (Filed 1/3/12) and United States v. Dunki, 14 CR 747
filed 11/13/14).

2 Prosecutors Charge Swiss Lawyer - The Wall Street Journal, U.S. Charges Swiss
Banker - Shenzhen Daily, U.S. Charges Swiss Banker and Attorney - Daily News-
South Africa, New York Lawyer Accused of Helping Tax Avoiders- domain-b India,
Swiss Lawyer Pleads Guilty... - Deutsche Presse - Agentur - Germany, Swiss Lawyer
Pleads Guilty... WMI Company News - UK , Swiss Lawyer Posts Bail -Agence
France Presse - France.

Edgar’s name and picture have been headlines in the Swiss press. A Lexis search of
“Edgar w/ 3 Paltzer” produces more than 200 articles about the prosecution. A Google
search for “Edgar Paltzer” produces over 1,300 results regarding his indictment and
decision to plead guilty and cooperate.

DM1\8541599.2

Case 1:13-cr-00282-.]SR Document 144 Filed 03/14/18 Page 4 of 9

Consequently, he was ostracized by the Swiss banking and professional
community. He was immediately removed from the law firm where he had
been a partner. He was expelled from professional associations throughout
the world. Business referrals dried up. His business income declined
substantially Long-time business and personal banking relationships were
terminated. Credit cards were cancelled in the middle of a family vacation.
The home mortgage was cancelled. So-called friends sought the other side
of the street when they saw him (or his family) coming. Mr. Paltzer was
“dis-invited” to business social functions. “Unfortunately, due to a conflict
of interest with some other attendees we feel that on this occasion it would

not be appropriate for you to attend”. Exhibit A.

Mr. Paltzer has suffered considerable collateral damage and hardship,
particularly in his home country Switzerland where society has over the
centuries been unforgiving to prominent citizens who have in some way
“failed”. Notwithstanding the impact of his decision to assist the U.S.

government, Mr. Paltzer does not regret doing so.
IV. Mr. Paltzer’s Letter to the Court

Attached as Exhibit B is Mr. Paltzer’s letter to the court. In part, Mr.

Paltzer writes:

DM1\8541599.2

 

'¢:::l f :'r'r:;r ::: "'r ,'. ¢¢::':'~'[ l`:'¢'¢:“¢¢> '::::' ’ >"¢::¢:`1 ` "' " """¢'"¢¢¢

Case 1:13-cr-00282-.]SR Document 144 Filed 03/14/18 Page 5 of 9

   

I fully accept responsibility for my conduct. I have assisted
the US authorities to the largest extent possible I hope that this
cooperation might be accepted as a form of redress of the harm done.

Exhibit B.

V. Mr. Paltzer Is a Devoted Husband and Father

Mr. Paltzer has been married to his wife Gabriele for 31 years. The
Paltzers have three children age 27, 24 and 16. The Paltzers are a close-knit
family and have always resided in Switzerland. Despite the family’s
concern for Edgar’s freedom, they fully supported Edgar’s decision to
cooperate immediately with the prosecution and to travel to New York to
face the charges. Edgar’s indictment and cooperation has been subject to
wide media and internet attention and to negative social comment.
Nonetheless, the family remains committed to one another and to Edgar’s
decision to cooperate. The family’s letters to the court in support of Edgar

are attached as Exhibit C3.

 

3 The Paltzers are very protective of their three children and that concern has been
heightened given the negative publicity Mr. Paltzer has received. Since this presentence
memorandum is a matter of public record, the Paltzers were concerned how any
heartfelt expression of concern for their father might be misrepresented in the social
media. Accordingly, the three Paltzer children, who completely support their father’s
decisions in this matter, have revised their original letters and provided new identical
“generic” letters supporting their father.

DM1\8541599.2

 

 

 

VI. Letters from Friends in Support of Edgar Paltzer

Attached as Exhibit D, are letters to the court in support of Edgar

Paltzer. Edgar has not shied away from admitting his errors to his friends.

For example:

DMl\8541599.2

he consistently acknowledged his actions, his intention to
assist the United States Authorities in their prosecutorial goals
and his acceptance of his personal responsibility.

David Hardy, Exhibit D, pages 1 - 2.

[Edgar] and I met the following day [after press reports of the
indictment] to have an extensive talk... Right from the
beginning he said that he would confront any law procedure
and face any reproaches. When I further asked whether he
now would hide away within Switzerland and stop traveling,
he said without any reluctance: “No I will travel to the USA and
confront the accusations in a fair legal procedure. I accept
responsibility ...”

Yves Kugelmann, Exhibit D, pages 3 & 4.

On speaking to him...he made it clear to me that he had taken
actions which he knew (or should have known) were illegal
under U.S. law and he accepts full responsibility for having
done so.

Rashad Wareh, Exhibit D pages 5 & 6.

Case 1:13-cr-00282-.]SR Document 144 Filed 03/14/18 Page 7 of 9

VII. Contribution to the Community

Edgar has been supportive of charitable and cultural activities both
within and outside Switzerland. For instance, David Hardy, a friend for
many years writes about Edgar’s efforts to assist a malaria clinic in

Cambodia. Exhibit D, pages 1 & 2. He writes:

During our IBA Tax Section Oflicers Retreat in Cambodia,
Edgar arranged for us to visit [a] malaria clinic established
there under the Kantha Bopha Foundation. [the doctor who
ran the clinic] was concerned that the work his foundation was
performing in Cambodia was resting disproportionately on the
generosity [of] his Swiss contributors. Edgar, consistent with
his personality, was quick to lead a group of Europeans and
North American lawyers who sought to establish a multi-
national foundation to broaden the base of support for [the
clinic].

Exhibit D, pages 1-2.
VIII. Comparable Sentences

Among Swiss professionals, it is believed that Mr. Paltzer was the
very first to voluntarily appear in the United States without any pre-
conditions. He came to the Southern District of New York on August 14,
2013 without any agreement relative to what, if any, bail would be arranged
and cooperated with the government without any agreement as to what

benefit he would derive from his cooperation. Mr. Paltzer’s situation is

DMl\8541599.2

 

1 ' " ; *"J i‘::i: ' l 1 ' """i

 

 

Case 1:13-cr-00282-.]SR Document 144 Filed 03/14/18 Page 8 of 9

unique. A review of cases dealing with Swiss professionals indicted in the
United States generally reveals that many have refused to meet those
charges4. Swiss professionals who have met those charges have in almost

all cases been sentenced to a period of pr,obation.5

The total offense level is 21 providing for a recommended sentence of
37 to 46 months. In this situation, a downward departure is warranted
given the cooperation Mr. Paltzer has provided as reflected in the
government’s 5K1.1 submission. In the event that a departure is not found
to be warranted, it is respectfully requested that the Court engage in a

variance from the sentencing guideline range.

 

4 In addition to those listed in footnote 1, Swiss bank related indictments in other
districts of Swiss professionals in which the defendant is a fugitive include: United
States v. Schaerer, 11 CR 95 (ED Va. filed 2/23/11), United States v. Rickenbach, 09
CR 60210 (SD Fl. filed 8/20/ 09 ), United States v. Mathis, 10 CR 260 (ED Va. filed
7/15/10), United States v. Almog, 11 CR oo93o (Ca CD, filed 9/29/11), United States v.
Agustoni, 11 CR 95 (ED Va. filed 2/ 23 / 11) and United States v. Adami, 11 CR 95 ( ED
Va, filed 2/23/11).

5 United States v. Schumacher, 9 CR 60210 (SD Fl. filed 8 / 20 09) (5K1 filed - 5 years
probation), United States v. Lack, 11 CR 60184 (SD Fl. filed 8 / 2/ 2011(5 years
probation), United States v. Bergantino, 11 CR 95 (ED Va. filed 2/23/11) (5 K1 filed -

2 years unsupervised probation); United States v. Gadola, 10 CR 20878 (SD Fl. filed
12/14/ 10 (5K1 filed - 5 years probation); United States v. Bachman, 11 CR 95 (ED Va
filed 2 / 23 / 11) (5K1 filed - 5 years unsupervised probation); United States v. Dorig, 11
CR 95 (ED Va. filed 2 / 23 / 11) (5K1 filed - 5 years unsupervised probation). Exceptions:
United States v. Birkenfeld, 8 CR 60099 (SD Fl. filed 4/10/08) (after arrest - 40
months incarceration) and United States v. Bagios, 12 CR 60260 (SD Fl. filed

10 / 16 / 12)(Agreed sentence - time served 37 days after arrest).

DMl\8541599.2

 

n ::' l l':"¢":",_,n":" ,`1"1"'.] ;":":'7 " jfjjj f",`:"~'"' ' `~"j j';;,;m:rj"? :<r:"<=i"::| lt:j:':-¢= ~ ~~"*~\`

Case 1:13-cr-00282-.]SR Document 144 Filed 03/14/18 Page 9 of 9

IX. A Probationary Sentence is Warranted

This is Mr. Paltzer’s first criminal offense. He lives and works in
Switzerland where he grew up, went to school and acquired his professional
education. He is a devoted husband and father. He has done all that
anyone faced with these charges could do to make amends for his conduct,
for which he has accepted full responsibility Accordingly, it is respectfully

suggested that Mr. Paltzer not be sentenced to a period of incarceration

 

 

Thorhas W. Ostrander

DUANE MORRIS LLP

30 S. 17th Street

Philadelphia, PA 19103-4196
Phone: +1 215 979 1802

Fax: +1 215 689 3639

Email:
Ostrander@duanemorris.com
Attorney for Defendant Edgar
Paltzer

DMl\8541599.2

